                                                                               Case 3:07-cv-05944-JST Document 2105 Filed 11/04/13 Page 1 of 2




                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                               IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8    ANTITRUST LITIGATION                    )
                                                                                                                       )   Case No. C-07-5944-SC
                                                                          9                                            )
                                                                                                                       )   AMENDED ORDER ON TRIAL
                                                                         10    This Order Relates To:                  )   SCHEDULE FOR DIRECT
United States District Court
                               For the Northern District of California




                                                                                                                       )   PURCHASER ACTION
                                                                         11    ALL DIRECT PURCHASER ACTIONS            )
                                                                                                                       )
                                                                         12                                            )
                                                                                                                       )
                                                                         13                                            )
                                                                                                                       )
                                                                         14                                            )
                                                                                                                       )
                                                                         15                                            )
                                                                                                                       )
                                                                         16                                            )
                                                                         17
                                                                         18        The Court posts this amended order to make a correction to a
                                                                         19   typographical error in ECF No. 2096.         The last day for the Direct
                                                                         20   Purchaser Plaintiffs to serve rebuttal expert reports on the merits
                                                                         21   is January 31, 2014.    A corrected schedule is below.
                                                                         22
                                                                         23   November 22, 2013                      Last day for Defendants to serve

                                                                         24                                          expert reports on merits

                                                                         25
                                                                         26   January 31, 2014                       Last day for DPPs to serve

                                                                         27                                          rebuttal expert reports on

                                                                         28                                          merits
                                                                               Case 3:07-cv-05944-JST Document 2105 Filed 11/04/13 Page 2 of 2




                                                                          1   March 3, 2014                            Close of fact and expert
                                                                          2                                            discovery
                                                                          3   April 15, 2014                           Last day to file dispositive
                                                                          4                                            motions
                                                                          5   June 2, 2014                             Last day to file oppositions to
                                                                          6                                            dispositive motions
                                                                          7   July 2, 2014                             Last day for dispositive motions
                                                                          8                                            replies
                                                                          9   July 18, 2014                            Hearing on dispositive motions
                                                                         10   July 31, 2014                            Mediation
                               For the Northern District of California
United States District Court




                                                                         11
                                                                         12        IT IS SO ORDERED.
                                                                         13
                                                                         14        Dated:     November 4, 2013
                                                                         15                                        UNITED STATES DISTRICT JUDGE

                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28



                                                                                                                   2
